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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                       8:95CR12
                              )
          v.                  )
                              )
LUIS ANTONIO PADILLA-PENA,    )                       ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on plaintiff’s motion
to extend response due date to defendant’s petition for

modification of fine (Filing No. 1485).               The Court finds the

motion should be granted.         Accordingly,

          IT IS ORDERED:

          1) Plaintiff’s motion to extend response due date to

defendant’s petition for modification of fine is granted.

Plaintiff’s objection to defendant’s petition for modification of

fine (Filing No. 1486) is deemed timely filed.

          2) Defendant shall have until April 4, 2011, to respond
to plaintiff’s objection.

          DATED this 21st day of March, 2011.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
